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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Candy Club Holdings, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          10736 Jefferson Blvd., #325
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Culver City                     CA         90230
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Los Angeles County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 candyclub.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)


      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                     Case 23-60049 Document 1 Filed in TXSB on 07/27/23 Page 2 of 14
Debtor       Candy Club Holdings, Inc.                                                 Case number (if known)
           Name



                                         ☐ Other. Specify:


                                             A. Check One:
7.   Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                             ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                             ☒ None of the above

                                             B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .


                                             3119

8. Under which chapter of the                Check One:
   Bankruptcy Code is the
   debtor filing?                            ☐ Chapter 7

      A debtor who is a “small               ☐ Chapter 9
      business debtor” must                  ☒ Chapter 11. Check all that apply:
      check the first sub-box. A
      debtor as defined in §                                   ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      1182(1) who elects to                                      aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      proceed under subchapter                                   affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      V of chapter 11 (whether or                                balance sheet, statement of operations, cash-flow statement, and federal income tax
                                                                 return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      not the debtor is a “small                                 1116(1)(B).
      business debtor”) must
      check the second sub-box.                                ☒ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
                                                                 liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                                 and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                 selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if any of these documents do not exist,
                                                                 follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               ☐ A plan is being filed with this petition.

                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                             ☐ Chapter 12
9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes.     District                           When                       Case number
   within the last 8 years?                                                                     MM/DD/YYYY

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                        Case 23-60049 Document 1 Filed in TXSB on 07/27/23 Page 3 of 14
    Debtor     Candy Club Holdings, Inc.                                                    Case number (if known)
              Name


       If more than 2 cases, attach a                    District                           When                         Case number
       separate list.                                                                                MM/DD/YYYY

    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                       Relationship     Affiliate
                                                         Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                         District     Southern District of Texas
       List all cases. If more than 1,                                                                                   When             07/27/2023
       attach a separate list.                         Case number, if known _______________________                                      MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒     No
        possession of any real             ☐     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?
                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                     ☐     Other
                                                     Where is the property?
                                                                                              Number        Street



                                                                                              City                                State        Zip Code

                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone


                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☒     1-49                         ☐       1,000-5,000                     ☐     25,001-50,000
        creditors1                        ☐     50-99                        ☐       5,001-10,000                    ☐     50,001-100,000
                                          ☐     100-199                      ☐       10,001-25,000                   ☐     More than 100,000
                                          ☐     200-999




1
       The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.
       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor     Candy Club Holdings, Inc.                                                     Case number (if known)
          Name



15. Estimated assets                 ☒       $0-$50,000                 ☐        $1,000,001-$10 million             ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000           ☐        $10,000,001-$50 million            ☐    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐        $50,000,001-$100 million           ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐        $100,000,001-$500 million          ☐    More than $50 billion

16. Estimated liabilities            ☒       $0-$50,000                  ☐       $1,000,001-$10 million             ☐ $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐       $10,000,001-$50 million            ☐ $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐       $50,000,001-$100 million           ☐ $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☐       $100,000,001-$500 million          ☐ More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on          07/27/2023
                                                               MM/ DD / YYYY

                                      
                                               /s/ Keith Cohn                                                     Keith Cohn
                                              Signature of authorized representative of debtor               Printed name

                                              Title    Chief Executive Officer


                                      
18. Signature of attorney                      /s/ Veronica A. Polnick                                       Date        07/27/2023
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              Veronica A. Polnick
                                              Printed name
                                              JACKSON WALKER LLP
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                  Street
                                              Houston                                                               Texas             77010
                                              City                                                                  State               ZIP Code
                                              (713) 752 -4200                                                       vpolnick@jw.com
                                              Contact phone                                                              Email address
                                              24079148                                                   Texas
                                              Bar number                                                   State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:
                                                                 ,
 United States Bankruptcy Court for the:
                    Southern District of Texas
                               (State)                                                    ☐ Check if this is an
 Case number (if                                                                              amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Candy Club, LLC.

                   Candy Club Acquisition, LLC
                   Candy Club Holdings, Inc.
                   Candy Club, LLC
                   Candy Club Investment, LLC
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    Candy Club Holdings, Inc.,                                     )      Case No. 23-___________(___)
                                                                   )
                                 Debtor.                           )
                                                                   )

                                         LIST OF EQUITY SECURITY HOLDERS1

                Equity Holders                          Address of Equity Holder                  Percentage of Equity Held

                                                       10736 Jefferson Blvd., #325
        Candy Club Acquisition, LLC                                                                             100%
                                                         Culver City, CA 90230




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy
       Procedure. All equity positions listed indicate the record holder of such equity as of the date of commencement of the chapter
       11 case.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 Candy Club Holdings, Inc.,                           )    Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

             Candy Club Acquisition, LLC                         100% of Candy Club Holdings, Inc.
                    Keith Cohn                                  100% of Candy Club Acquisition, LLC
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    Fill in this information to identify the case and this filing:

   Debtor Name     Candy Club Holdings, Inc.
   United States Bankruptcy Court for the:                                   Southern District of Texas
                                                                                             (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Keith Cohn
                                        07/27/2023
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Keith Cohn
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor




    Official Form 202                                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                WRITTEN RESOLUTIONS
                                         OF
                              CANDY CLUB HOLDINGS, INC.

                                          JULY 20, 2023

        THE COMPANY, Candy Club Holdings, Inc. (the “Company”) takes the following actions
and adopt the following resolutions without a meeting, by action of its directors and shareholders,
as authorized by the Delaware General Corporation Law (the “Act”), as amended from time to
time, and the Bylaws of the Company (the “Bylaws”).

Appointment of Independent Director

       WHEREAS, pursuant to Section 3.2 of the Bylaws, directors shall be elected by the
stockholders.

       WHEREAS, pursuant to Section 8.2 of the Bylaws, actions of the Company may be taken
without a meeting, without prior notice, and without a vote, by a consent or consents in writing.

       WHEREAS, the Company deems it advisable and in the best interest of the Company to
appoint Barry Folse as independent director of the Company in accordance with that certain
Independent Director Agreement between Candy Club, LLC, a California limited liability
company, and the Independent Director (as defined below), dated July 20, 2023 and in the form
approved by the Manager.

         NOW THEREFORE, BE IT RESOLVED, that Barry Folse (the “Independent Director”)
be ratified in his appointment an independent director of the Company.

       RESOLVED, that the Independent Director shall have responsibility for the general and
active management of the business in the same capacity as the board of directors of the Company
and shall have authority to execute documents and bind the Company.

        RESOLVED, that the undersigned hereby approve and consent to any and all actions taken,
done or performed in connection with the authority granted by the foregoing resolutions, and all
legal actions of any nature whatsoever previously taken by any manager, officer, employee, agent,
attorney or other representative of the Company contemplated by, arising out of or in connection
with the subject of the foregoing resolutions.

Bankruptcy Matters

       WHEREAS, pursuant to Section 8.2 of the Bylaws, actions of the Company may be taken
without a meeting, without prior notice, and without a vote, by a consent or consents in writing.

         WHEREAS, the Company deems it advisable and in the best interest of the Company and
its affiliates, Candy Club, LLC, a California limited liability company, Candy Club Investment,
LLC, a Texas limited liability company, and Candy Club Acquisition, LLC, a Delaware limited
liability company, to file bankruptcy under Chapter 11 of the US Code, and grant Barry Folse, in
his capacity as Independent Manager of the Company, and to each Manager (collectively, the


                                                1
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“Authorized Persons”) the power and authority to authorize, execute, and approve on behalf of the
Company and its affiliates all bankruptcy and restructuring matters, including but not limited to
filing a petition for bankruptcy (the “Bankruptcy Matters”).

        NOW THEREFORE, BE IT RESOLVED, that, notwithstanding anything to the contrary,
the Company hereby grants to each Authorized Person the power and authority to authorize,
execute, approve and file the Bankruptcy Matters and to take any other action done in furtherance
of the Bankruptcy Matters on behalf of the Company and its affiliates.

        RESOLVED, that the undersigned hereby approve and consent to any and all actions taken,
done or performed in connection with the authority granted by the foregoing resolutions, and all
legal actions of any nature whatsoever previously taken by any manager, officer, employee, agent,
attorney or other representative of the Company contemplated by, arising out of or in connection
with the subject of the foregoing resolutions.




                                               2
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        IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the
date first written above:


                                             DIRECTOR:




                                             Keith Cohn



                                             SHAREHOLDER:




                                             Keith Cohn




                    [Signature to Written Consent of Candy Club Holdings, Inc.]
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      Fill in this information to identify the case:

      Debtor name               Candy Club, LLC
      United States Bankruptcy Court for the:   Southern                District of   Texas
                                                                                      (State)
      Case number (If known):
                                                                                                                                   Check if this is an
                                                                                                                                          amended filing




Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated, total claim amount and deduction for value of
                                                                                  services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if     Deduction for    Unsecured
                                                                                                                        partially           value of         claim
                                                                                                                        secured             collateral or
                                                                                                                                            setoff

1    Integrated Distribution Services -
                                                Cody Van Woerden
     IND
                                                P: 317-203-8751                           Operations          D                                              $1,693,189.20
     9431 All Points Parkway
                                                cvanwoerden@idsfulfillment.com
     Plainfield, IN 46168

2    MAVPAK                                     Phoebe Plair
     6330 E 75th St Ste 168                     P: 463-266-8084                         Components                                                            $317,875.00
     Indianapolis, IN 46250                     phoebe@mavpak.com


3                                               Pauline Reichel
     Berlin Packaging
                                                P: 312-869-7574
     525 West Monroe Street 14th Floor                                                  Components                                                            $217,206.43
                                                Pauline.reichel@BerlinPackaging
     Chicago, IL 60661
                                                .com

4    All-Star Containers, Inc                   Todd Chaney
     PO Box 1308                                P: 805-285-0740 Ext 2                   Components                                                            $195,008.64
     Bluffton, SC 29910                         todd@allstarcontainers.com


5    UPS                                        Andrew Harrell
     PO Box 650116                              P: 800-377-4877                             Freight                                                           $120,530.49
     Dallas, TX 75265-0116                      andrewharrell@ups.com


6    North Point Partners (Peter Ember)
     30 Beekman Place                   P: (917) 539-7432                                       G&A                                                           $104,376.34
     New York, NY 10022                 pimber@nppllc.net


7    Rite Aid
     5400 Perry Drive                                                                    Markdowns            D                                               $90,000.00
     Waterford, MI 48329


8    Dorval Trading                             Gail Newcomb
     PO Box 620                                 P: 845-624-3031                                 G&A                                                           $89,830.00
     Nanuet, NY 10954                           gnewcomb@dorvaltrading.com


    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 1
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    Debtor Name               Candy Club, LLC                                   Case Number


     Name of creditor and complete          Name, telephone number, and    Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor      (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                        debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated, total claim amount and deduction for value of
                                                                           services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                 partially         value of           claim
                                                                                                                 secured           collateral or
                                                                                                                                   setoff


9    Google, Inc.
     Dept. 33654, PO Box 39000                                                   Candy                                                                 $83,833.20
     Dsan Francisco, CA 94139              collections-us@google.com


10 Marich Confectionery                    Jose Hernandez
   2101 Bert Drive                         P: 800-624-7055                      Marketing                                                              $81,632.34
   Hollister, CA 95023                     jlhernandez@marich.com

11 City National Bank Credit Card
                                           John Bai
   File 1355                                                                     Candy                                                                 $74,958.35
                                            john.bai@cnb.com
   Pasadena, CA 91199-1355


12 Gerrit J Verburg Company                India Olk
   12238 Germany Road                      P: 810-750-9779                        G&A                                                                  $57,987.68
   Fenton, MI 48430                        india@gerritjverburg.com


13 Disney Consumer Products, Inc.          JP Southern
   500 S. Buena Vista St.                  paul.southern@disneyconsumer          Candy                                                                 $55,608.48
   Burbank, CA 91521                       products.com


14 SC Marketing (Thermal Shipping          Maney Athwal
   Solutions)
                                           P: 415-389-5004                       License               D                                               $50,000.00
   1196 Simmons Lane
                                           Maney@thermalshipping.com
   Novato, CA 94945

15 Vidal Candies USA Inc.                  Matt Hanna and Michelle Gregg
                                           P: 310-548-6087
   845 Third Ave, 6th Floor                                                   Components                                                               $47,858.04
                                           matt.hanna@vidalcandiesusa.co
   New York, NY 10022
                                           m

16 Facebook (Meta)
   1601 Willow Road                        P: 650.543.4800                       Candy                                                                 $45,828.00
   Menlo Park, CA 94025                    debtrecovery@google.com

17 ORACLE (NetSuite)
   2955 Campus Dr Ste 100                  P: 877-638-7848                      Marketing                                                              $30,329.51
   San Mateo, CA 94403                     rvaldez@netsuite.com


18 Premier Packaging                       Deborah Ernst
   PO Box 39505                            P: 800-518-6305                        Tech                                                                 $29,159.69
   Louisville, KY 40233                    dernst@prempack.com


19 Sweets Candy Company
                                           Darren Kolinsky
   4666 Park Granada                                                          Components                                                               $28,578.00
                                           darren@actionsaleswest.com
   Calabasas, CA 91302


20 Proforma Nitro Incentives (LLC)         Anita Namar
   PO Box 51925                            P: 972-407-6100                       Candy                                                                 $26,625.00
   Los Angeles, CA 90051-6225              anita.namara@proforma.com




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 2
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 Debtor Name                Candy Club, LLC                                  Case Number


   Name of creditor and complete          Name, telephone number, and    Nature of the        Indicate if   Amount of unsecured claim
   mailing address, including zip code    email address of creditor      claim (for           claim is      If the claim is fully unsecured, fill in only unsecured
                                          contact                        example, trade       contingent, claim amount. If claim is partially secured, fill in
                                                                         debts, bank loans,   unliquidated, total claim amount and deduction for value of
                                                                         professional         or disputed collateral or setoff to calculate unsecured claim.
                                                                         services, and
                                                                         government
                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                              partially         value of           claim
                                                                                                              secured           collateral or
                                                                                                                                setoff


21 Stroock
   180 Maiden Lane                       P: 712-806-6196                    Components              D                                               $22,533.00
   New York, NY 10038                    zswan@stroock.com


22 Redstone Foods, Inc                   Sussanne Diamond
   1434 Patton Place, Suite 106          P: 818-422-4245                       Candy                                                                $19,932.00
   Carrollton, TX 75007                  suannebd@gmail.com

23 Steaven Jones Development             Larry Meister
   Company                               P: 310-826-3600 x115
                                                                                G&A                 D                                               $19,427.53
   12381 Wilshire Boulevard, Suite 201   F: 800-837-2511
   Los Angeles, CA 90025                 lmeister@sjdcinc.com

24 Nassau Candy                          Robin Goedel
   530 West John Street                  P: 516-433-7100                       Candy                                                                $16,700.00
   Hicksville, NY 11801                  Robin.Goedel@nassaucandy.com


25 Jelly Belly                           Heidi Mueller
   PO Box 742799                         P: 707-428-2800                       Candy                                                                $16,568.00
   Los Angeles, CA 90074                 hmueller@jellybelly.com


26 Metric Theory
   PO Box 748544                         P: 415-231-5345                     Marketing                                                              $11,050.77
   Los Angeles, CA 90074                 accounting@metrictheory.com


27 Wise Owl Productions
   3751 E 150 S                          P: 949-690-4942                       Sales                                                                $10,641.50
   Tipton, IN 46072                      jpekar@wiseowlproductions.com


28 Arway Confections (LongGrove)         Carrie Koch
   3425 North Kimball Ave                P: 847-302-4806                       Candy                                                                $10,120.00
   Chicago, IL 60618                     carrie.koch@arwlgc.com

29 Anthem Blue Cross                     Mark Reynolds
   PO Box 51011                          P: 855-854-1429.                       G&A                                                                  $8,651.92
   Los Angeles, CA 90051-5311            reynolds.mark@sbcglobal.net


30 Cloudwork LLC (Beon)
   17121 Collins Ave                     P: 917-605-3521                        Tech                                                                 $8,201.25
   Sunny Isle, FL 33160                  accounting@beon.studio




  Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 3
